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 6 Attorneys for Plaintiff
   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:24-CR-00033-NODJ-BAM
12                                Plaintiff,            STIPULATION REGARDING SETTING CASE
                                                        FOR ARRAIGNMENT ON SECOND
13                         v.                           SUPERSEDING INDICTMENT; ORDER
14   ANTHONY VARELA,
15                               Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

18 through defendant’s counsel of record, hereby stipulate as follows:

19          1.     On March 7, 2024, the grand jury returned a second superseding indictment in this case.

20          2.     By this stipulation, the parties now move to set the case for an arraignment on second

21 superseding indictment before Hon. Stanley A. Boone at 2:00 p.m. on March 22, 2024.

22 IT IS SO STIPULATED.

23

24
     Dated: March 13, 2024                                  PHILLIP A. TALBERT
25                                                          United States Attorney
26
                                                            /s/ JUSTIN J. GILIO
27                                                          JUSTIN J. GILIO
                                                            Assistant United States Attorney
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      STIPULATION AND PROPOSED ORDER FOR
                                                        1
30    ARRAIGNMENT ON INDICTMENT
         Case 1:24-cr-00033-NODJ-BAM Document 36 Filed 03/13/24 Page 2 of 3


 1   Dated: March 13, 2024                      /s/ Steven Crawford
                                                Steven Crawford
 2                                              Counsel for Defendant
 3                                              Anthony Varela

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     STIPULATION AND PROPOSED ORDER FOR
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30   ARRAIGNMENT ON INDICTMENT
          Case 1:24-cr-00033-NODJ-BAM Document 36 Filed 03/13/24 Page 3 of 3


 1                                                   ORDER

 2          Per the parties’ stipulation, defendant Anthony’s Varela’s case shall be set for an arraignment on

 3 second superseding indictment before the Hon. Stanley A. Boone at 2:00 p.m. on March 22, 2024.

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     IT IS SO ORDERED.
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 6 Dated:     March 13, 2024
                                                      UNITED STATES MAGISTRATE JUDGE
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      STIPULATION AND PROPOSED ORDER FOR
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30    ARRAIGNMENT ON INDICTMENT
